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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

KEN ROBERTS ,

 

 

Plaintiff - 19-cv-0821 (JGK)
v - ORDER OF DISMISSAL
PRET AMANGER
Defendant,

x

 

Judge John G. Koeltl, United States District Judge:

The Court, having been advised, that all claims asserted herein have been
settled, it is ORDERED that the above-entitled action be and is hereby
DISMISSED and discontinued without costs, and without prejudice to the right to
reopen the action within sixty days of the date of this Order if the settlement is
not consummated.

To be clear, any application to reopen must be filed by the
aforementioned deadline; any application to reopen filed thereafter may be
denied solely on that basis. Further, requests to extend the deadline to
reopen are unlikely to be granted.

If the parties wish for the Court to retain jurisdiction for the purposes of
enforcing any settlement agreement, they must submit the settlement
agreement to the Court by the deadline to reopen to be “so ordered” by the
Court.

Any pending motions are moot. All conferences are canceled. The Clerk of Court
is directed to close the case and to mai! a copy of this Order to Plaintiff.

SO ORDERED.
Dated: October“/2, 2020
New York, New York

 

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Judge John G. Koeltl
United States District Judge

 

 

 
